                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

JAMES AND KELARA GHAISAR,                         )
Individually and as Personal Representatives      )
and Co-Administrators of the Estate of Bijan C.   )
Ghaisar, Deceased,                                )
                                                  )      Case No. 1:19-cv-1224 (CMH/IDD)
                      Plaintiffs,                 )
                                                  )
       v.                                         )
                                                  )
UNITED STATES OF AMERICA,                         )
                Defendant.                        )


                             DEFENDANT’S STATUS REPORT

       Pursuant to the Court’s December 9, 2022 Order (Dkt. 158) and the parties’ December

23, 2022 Joint Status Report (Dkt. 159), Defendant United States of America submits this status

report on whether it will seek an order conferring use immunity on Officers Amaya and Vinyard.

See 18 U.S.C. §§ 6002, 6003.

       Pursuant to the Court’s request, the United States undertook the process outlined in § 9-

23.130 of the Justice Manual to determine whether an order conferring use immunity would be

requested from the Court. This process required consultation with various DOJ components.

The outcome of this process is that the Department of Justice has not authorized undersigned

counsel to seek an order conferring use immunity on Officers Amaya and Vinyard and thus

undersigned counsel will not be seeking such an order.




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Respectfully submitted,

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       /s/
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Counsel for Defendant

Date: January 23, 2023
